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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

MORROW BROTHERS, LLC,


     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, D’WANNA WILLIAMS (“Plaintiff”) by and through the

undersigned counsel, hereby files this Complaint and sues MORROW

BROTHERS, LLC, for injunctive relief, attorney’s fees and costs pursuant to 42

U.S.C. §12181 et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.


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      2.      Venue is proper in this Court, the Northern District of Alabama

pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff, D’WANNA WILLIAMS (hereinafter referred to as

“WILLIAMS”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. WILLIAMS suffers from what constitutes a

“qualified disability” under the Americans with Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she suffers

from paraplegia and has had amputation of both of her legs and requires a wheelchair

for mobility.    Prior to instituting the instant action, WILLIAMS visited the

Defendant’s premises at issue in this matter, and was denied full, safe and equal

access to the subject properties due to their lack of compliance with the ADA.

WILLIAMS continues to desire and intends to visit the Defendant’s premises but

continues to be denied full, safe and equal access due to the barriers to access that

continue to exist.

      4.      The Defendant, MORROW BROTHERS, LLC, is a limited liability

company registered to do business and, in fact, conducting business in the State of

Alabama. Upon information and belief MORROW BROTHERS, LLC, (hereinafter

referred to as “MORROW”) is the owner, lessee and/or operator of the real

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properties and improvements that are the subject of this action, specifically: The

Crab Barrack restaurants located at 103 Bessemer Super Highway in Midfield,

Alabama, and at 9417 Parkway East in Birmingham, Alabama (hereinafter referred

to jointly as the "Restaurants").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the

Restaurants owned and/or operated by MORROW are places of public

accommodation in that they are restaurants operated by a private entity that provides

goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

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accommodations at the Restaurants in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurants owned and/or

operated by MORROW. Prior to the filing of this lawsuit, Plaintiff visited the

Restaurants at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendants’ premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Restaurants, but continues to be injured in that she is unable to and continues

to be discriminated against due to the barriers to access that remain at the Restaurants

in violation of the ADA. WILLIAMS has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of

the Defendants’ continuing deliberate and knowing violations of the ADA.

      10.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.     MORROW is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R.

§36.302 et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

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    Midfield Restaurant (103 Bessemer Super Highway)

   i.    No accessible or van accessible parking is provided in the

         parking lot serving the Midfield Restaurant as the two parking

         spaces currently provided with some indicia of accessibility lack

         raised signs and adjacent access aisles necessary for a wheelchair

         user;

  ii.    The two accessible parking spaces provided with some indica of

         accessibility are located in an area of the Midfield Restaurant’s

         parking lot containing excessive running and cross slopes that are

         too steep for a wheelchair user;

 iii.    There is no accessible route between the parking lot and the main

         entry to the Midfield Restaurant due to excessive cross and

         running slopes and ramps that lack necessary handrails;

 iv.     There is no lowered, wheelchair accessible seating position

         offered at the bar in the Midfield Restaurant;

  v.     The women’s toilet room in the Midfield Restaurant contains a

         lavatory with pipes that are not insulated as necessary for a

         wheelchair user, a mirror that is mounted too high for a

         wheelchair user and the water closet in the accessible toilet stall

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         has a flush valve located on the narrow side of the accessible

         toilet stall, out of reach of a wheelchair user.

 vi.     Upon information and belief, there are similar barriers to access

         of wheelchair users in the Midfield Restaurant’s men’s toilet

         room;

         Center Point Restaurant (9417 Parkway East)

vii.     Of the five (5) accessible parking spaces provided at the Center

         Point Restaurant, three (3) lack raised signs to designate them as

         such or to designate them as “van accessible,” where necessary,

         and one (1) lacks an adjacent access aisle necessary for a

         wheelchair user;

viii.    The two (2) built-up curb ramps provided at the Center Point

         Restaurant contain excessive running slopes and flared sides that

         are excessively steep and which protrude into the accessible

         parking spaces and access aisles they serve, such that the access

         aisles and parking spaces are not level as required by a

         wheelchair user, as both access aisles provided and four of the

         five accessible parking spaces provided, have ramps that

         protrude into them;

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            ix.     The women’s toilet room at the Center Point Restaurant lacks

                    accessible signage to designate it as such and the flush valve on

                    the water closet in the accessible toilet stall faces the narrow side

                    of the stall, out of reach for a wheelchair user;

            x.      Upon information and belief, there are similar barriers in the

                    men’s toilet room at the Center Point Restaurant.

      12.     There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by Defendants that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.     To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.     Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

Defendant was required to make its Restaurants, places of public accommodation,

accessible to persons with disabilities by January 28, 1992. To date, Defendant has

failed to comply with this mandate.

      15.     Plaintiff has been obligated to retain undersigned counsel for the filing

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and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against MORROW and

requests the following injunctive and declaratory relief:

             A.     That the Court declare that the properties owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

             E.     That the Court award such other and further relief as it

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                 deems necessary, just and proper.

     Dated this 4th day of February, 2022.


                                             Respectfully submitted,

                                             By: /s/ Edward I. Zwilling
                                             Edward I. Zwilling, Esq.
                                             AL State Bar No.: ASB-1564-L54E
OF COUNSEL:

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